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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1093V
                                    Filed: February 10, 2016
                                           Unpublished

****************************
ANTHONY NELSON,            *
                           *
              Petitioner,  *                               Damages Decision Based on Proffer;
                           *                               Influenza (“flu”) Vaccine; Shoulder Injury
                           *                               Related to Vaccine Administration
SECRETARY OF HEALTH        *                               (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,        *                               (“SPU”)
                           *
              Respondent.  *
                           *
****************************

Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Glenn MacLeod, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

        On September 29, 2015, Anthony Nelson (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act” or “Program”). Petitioner alleged that as a result
of an influenza (“flu”) vaccination on December 4, 2014, he suffered a left shoulder
injury. The case was assigned to the Special Processing Unit (“SPU”) of the Office of
Special Masters.

        On December 18, 2015, the undersigned issued a ruling on entitlement finding
petitioner entitled to compensation for SIRVA. On February 10, 2016, respondent filed
a proffer on award of compensation (“Proffer”) indicating petitioner should be awarded
$85,000.00. Proffer at 1. In the Proffer, respondent represented that petitioner agrees

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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with the proffered award. Based on the record as a whole, the undersigned finds that
petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $85,000.00 in the form of a check payable to
petitioner, Anthony Nelson. This amount represents compensation for all damages
that would be available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS

*************************
                          *
ANTHONY NELSON,           *
                          *
              Petitioner, *
                          *
v.                        *                            No. 15-1093V (ECF)
                          *                            CHIEF SPECIAL MASTER
                          *                            NORA BETH DORSEY
SECRETARY OF HEALTH       *
AND HUMAN SERVICES,       *
                          *
              Respondent. *
*************************

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On December 18, 2015, the Chief Special Master issued a Ruling on Entitlement finding

that petitioner was entitled to vaccine compensation for his Shoulder Injury Related to Vaccine

Administration (“SIRVA”). Based on the evidence of record, respondent proffers that petitioner

should be awarded $85,000.00. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          Respondent recommends that the compensation provided to petitioner be made through a

lump sum payment of $85,000.00 in the form of a check payable to petitioner. 1 Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.


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       Should petitioner die prior to the entry of judgment, respondent reserves the right to
move the Court for appropriate relief. In particular, respondent would oppose any award for
future medical expenses, future pain and suffering, and future lost wages.

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                                           Respectfully submitted,

                                           BENJAMIN C. MIZER
                                           Principal Deputy Assistant Attorney General

                                           RUPA BHATTACHARYYA
                                           Director
                                           Torts Branch, Civil Division

                                           VINCENT J. MATANOSKI
                                           Deputy Director
                                           Torts Branch, Civil Division

                                           LINDA S. RENZI
                                           Senior Trial Counsel
                                           Torts Branch, Civil Division

                                           s/GLENN A. MACLEOD
                                           GLENN A. MACLEOD
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Dated: February 9, 2016




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